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 Fill in this information to identify your case:

  Debtor 1                   Vincent               Wilkerson           Beale
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                                                                                                                          ❑   Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                            Dates Debtor 2 lived
                                                              there                                                                           there


                                                                                       ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
     19 Hunnewell Way                                       From 05/01/2012                                                                 From
    Number      Street                                                                     Number     Street
                                                            To     07/01/2021                                                               To

     The Woodlands, TX 77382-5401
    City                               State ZIP Code                                      City                       State ZIP Code



                                                                                       ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                            From                                                                            From
    Number      Street                                                                     Number     Street
                                                            To                                                                              To



    City                               State ZIP Code                                      City                       State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

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